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 1                  UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
 2                       FEDERAL GRAND JURY

 3         ***************************
           IN THE MATTER OF:         *
 4                                   *
           UNITED STATES OF AMERICA  *
 5                                   *
           VERSUS                    * NO.                   08-19-50
 6                                   *
           JASON R. WILLIAMS (01)    *
 7         NICOLE E. BURDETT (02)    *
                                     *
 8         ***************************

 9                   TESTIMONY OF HENRY TIMOTHY, TAKEN
           BEFORE THE FEDERAL GRAND JURY, ON FRIDAY,
10         THE 26TH DAY OF JUNE, 2020, COMMENCING AT
           2:27 P.M.
11

12         APPEARANCES:

13         KELLY P. UEBINGER, ESQUIRE
           DAVID AYO, ESQUIRE
14         Assistant United States Attorneys

15         LADIES    AND GENTLEMEN OF THE             GRAND JURY
           AUGUST    2019 GRAND JURY
16

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                                                                                     2


 1         (Whereupon,               the    witness,         HENRY TIMOTHY,

 2         entered         the       grand       jury room.)

 3                   THE    FOREPERSON:                 Could you state and

 4         spell      your       name,          please,      so   she can    hear

 5         you.

 6                   THE    WITNESS:              Spell it?         Henry

 7         Timothy.             H-e-n-r-y,            T-i-m-o-t-h-y.

 8                   THE    FOREPERSON:                 Raise your right

 9         hand,      please.              Do    you solemnly swear to

10         tell      the    truth,          the whole truth and

11         nothing         but       the    truth,      in    this and related

12         cases      so    help       you       God?

13                   THE    WITNESS:              I    do.

14                   THE    FOREPERSON:                 Thank you.

15                   MS.    UEBINGER:                 Thank you,     ma'am.        And

16         we   do    have       a    quorum?

17                   THE    FOREPERSON:                 We   do.

18                                   TIMOTHY HENRY

19         after      having          been first duly sworn,                 did

20         testify         as    follows:

21                                    EXAMINATION

22         BY   MS.    UEBINGER:

23                    Q.             Mr.    Timothy,         before we      get

24         started         we    need       to put      a    few things on the

25         record      that          we've       previously talked about.
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                                                                                      3


 1                     A.          Yes.

 2                     Q.          You       understand that your

 3         testimony          today          will involve you          waiving

 4         your    Fifth       Amendment right against

 5         self-incrimination?

 6                     A.          Yes.

 7                     Q.          Is    it    your intention --          are

 8         you    here       today       voluntarily?

 9                     A.          Yes.

10                     Q.          And       you understand that some

11         of    the    things          you're       going to    be

12         testifying          to       will involve violations of

13         federal          law?

14                     A.          Yes.

15                     Q.          And       just so the    grand jury

16         knows,       you    are       represented by          counsel,       Mr.

17         Stephen          London?

18                     A.          Yes.

19                     Q.          And       he couldn't    be    here with

20         us    today,       but       he    is    available via phone in

21         case    you       need       to    speak with him;          correct?

22                     A.          Yes.

23                     Q.          So    if    at    any time you need a

24         break       or    you    want to          talk to Mr.       London,

25         don't       hesitate          to    let us    know.        We'll   take
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                                                                                       4


 1         a   break     and      you       can give him a             call if

 2         you're      unsure          of    anything.

 3                     A.         Okay.

 4                     Q.         Thank          you,    sir.     So    again,

 5         could      you    go       ahead and          state your full

 6         name.

 7                     A.         Henry          Timothy.

 8                     Q.         And,       Mr.       Timothy,    are you

 9         currently         employed?

10                     A.         Self-employed.

11                     Q.         And       what do you          do?

12                     A.         I    prepare taxes.

13                     Q.         And       where do          you do    that?     In

14         what    city?

15                     A.         In    Bridge City.

16                     Q.         Okay.           So    explain this to          me.

17         I   know    you've          done it          before.        Bridge City

18         and    Westwego,            is    that the          same thing or

19         not?

20                     A.         It's       between Avondale,             Bridge

21         City    and      Westwego.              It's       all labeled under

22         Westwego.

23                     Q.         Okay.           And    do    you work out of

24         your    home?

25                     A.         Yes,       I    do.
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                                                                                 5


 1                      Q.     And    how long have you been

 2         doing    tax      preparation work?

 3                      A.     About       ten years now.

 4                      Q.     And    what did you do              before

 5         that    time?

 6                      A.     I    was    in    accounting and

 7         controller         for    some refineries and

 8         corporations.

 9                      Q.     And    how long did you              do   that,

10         the    controller         work?

11                      A.     From       1974    to    19   --   about 35

12         years.

13                      Q.     And    let's       shift back to          the

14         tax    preparer         business.           What is     the   name

15         of    your    business?

16                      A.     B&B    Accounting Services,                LLC.

17                      Q.     And    what is your educational

18         background?

19                      A.     I    graduated from UNO              in

20         accounting.

21                      Q.     And    when did you graduate

22         approximately?             Do you       remember the          year?

23                      A.     1974.

24                      Q.     And    are you a          CPA?

25                      A.     No,    ma'am.
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 6 of 30
                                                                                   6


 1                     Q.         Now,       are    you familiar with

 2         Jason       Rogers         Williams          and   Nicole Burdett?

 3                     A.         Yes,       I    am.

 4                     Q.         And       how did you         first meet Mr.

 5         Williams         and       Ms.    Burdett?

 6                     A.         I    met       them through my

 7         father-in-law.

 8                     Q.         And       was your father-in-law,

 9         was    he    friendly            with Nicole Burdett's

10         family?          Did       he    know them?

11                     A.         Yes,       he    did.

12                     Q.         And       did he       make the

13         introduction               to    you and Mr.         Williams   and

14         Ms.    Burdett?

15                     A.         Yes.

16                     Q.         And       approximately when would

17         that    have      occurred?              What year?

18                     A.         Approximately 2010.

19                     Q.         And       what was the purpose of

20         that    meeting?

21                     A.         Mr.       Williams needed some

22         amendments         done          on previous years taxes

23         and    --    okay.

24                     Q.         Before we             get   to that,   was Mr.

25         Trentacosta,               was he       also a      tax   preparer?
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                                                                                     7


 1                      A.      Yes,    he   was.

 2                      Q.      And    why was he          introducing you

 3         to    them    instead       of him      doing the        tax work?

 4                      A.      Because he         couldn't        do   it.     He

 5         doesn't       do    computer work.

 6                      Q.      And    is he    up    in    age,    retired

 7         at    this    point?

 8                      A.      Yes.     He's      90-years-old          now.

 9                      Q.      And    where did       this meeting in

10         2010    take       place?     Whose house?

11                      A.      At    his home.

12                      Q.      Meaning Mr.          Trentacosta?

13                      A.      Mr.    Trentacosta's          home.

14                      Q.      And    who was present for               the

15         meeting?

16                      A.      My    father-in-law Mr.

17         Trentacosta,          myself,       Nicole Burdett and

18         Jason    Williams.

19                      Q.      And    was that the first time

20         you    had    met    Ms.    Burdett?

21                      A.      Yes,    it   is.

22                      Q.      And    was that the first time

23         you    had    met    Mr.    Williams?

24                      A.      Yes.

25                      Q.      So    what did Mr.          Williams,         did
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                                                                                        8


 1         he    ask    you       to       do    anything at that meeting?

 2                      A.            He    asked me to         look at       all his

 3         previous          years          taxes.       He    wasn't    happy

 4         with    the       results             that he      had from before,

 5         and    see       if    I    could find any               expenses that

 6         would       help       him       reduce his         tax liability.

 7                      Q.            And       what do you         mean by    he

 8         wasn't       happy          with the results of               those

 9         taxes?

10                      A.            From       what he      told me    was that

11         he    thought          that          they were prepared

12         incorrectly                before,         and that he       wanted me

13         to    look       at    them          and see if      I    could prepare

14         them    better.

15                      Q.            And       are we   talking       about

16         taxes       --    this          is    in   2010.     So    what tax

17         returns          did       he    want you to         amend and

18         re-file?

19                      A.            All       the way back to         2002.

20                      Q.            Did       you find that to         be    a

21         little       odd       that          he wanted to go         back that

22         far    and       correct             taxes and      re-file them?

23                      A.            Yes.

24                      Q.            And       why did you         think that was

25         odd?
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 9 of 30
                                                                                        9


 1                     A.          Because usually the period

 2         that    they          want    to    go    back and amend is

 3         three       years.           Not    that far back.

 4                     Q.          And       what did he         tell you about

 5         his    expenses?

 6                     A.          He    thought that he              didn't     have

 7         enough       expenses             reported on         the tax

 8         returns.

 9                     Q.          So    did you          agree at      that

10         meeting          to    do    that work for            him?

11                     A.          I    agreed to review them and I

12         would       let       him    know if       I    would do      it.

13                     Q.          And       why was Nicole Burdett

14         there?           What       did you       understand her            role

15         to    be?

16                     A.          Just       to    introduce my

17         father-in-law                to    Jason.

18                     Q.          And       was she a       lawyer at         that

19         time?

20                     A.          If    she was,          she   had just

21         become       a    lawyer.

22                     Q.          And       what about Mr.           Williams,

23         did    he    tell       you       that he was         a   lawyer?

24                     A.          Yes.

25                     Q.          And       did you understand that
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                                                                                    10


 1         they    worked       together at Mr.                Williams'      law

 2         firm?

 3                     A.       Yes.

 4                     Q.       Okay.           So    you    said that you

 5         would       review       the returns and get                back with

 6         him.        Did    you,    in       fact,    do    that?

 7                     A.       Yes,       I    did.

 8                     Q.       And       what did you do             regarding

 9         those       prior    returns?

10                     A.       I    re    --    I    amended them and

11         then    I    reviewed          them with him.              And   then

12         we   wind     up    --    he    signed them and             then we

13         sent    them       off    to    the       IRS.

14                     Q.       When       you       say you reviewed them

15         with    him,       did    you       have another in-person

16         meeting       with       Jason Williams?

17                     A.       Yeah.           At    his    office.

18                     Q.       And       that is at          his   law firm

19         office       on    St.    Charles Avenue?

20                     A.       Yes.

21                     Q.       And       who was present for               that

22         meeting?           Was    it    just you          and Mr.

23         Williams?

24                     A.       Yes.

25                     Q.       And       tell us what type of               work,
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 11 of 30
                                                                                          11


 1         what    did      you       do       to change those returns?

 2                     A.         I       looked at he                didn't    have

 3         enough      expenses                reported,          I    guess his

 4         income      and     we         amended them for                  that.

 5                     Q.         So       you increased the                   expenses?

 6                     A.         Yes.           He    also missed some

 7         child    additions                  where he       didn't         report

 8         his,    some      of       his kids on             the returns.

 9                     Q.         All          right.        In       addition to

10         that,    tell       us         about the expenses.                    How

11         were    you      able          to    increase those expenses?

12         If   it's     2010         or       2011    when you actually sat

13         down    and      prepared             the returns;               do you

14         recall,       the      amended returns?

15                     A.         The          amended returns?

16                     Q.         Yes,          sir.

17                     A.         I       think it       was 2010.

18                     Q.         Okay.           So    when you're

19         preparing         these             returns as             far   back as

20         2002,    how      did          you    come up          with additional

21         expenses?

22                     A.         He       gave me       a    list of          his

23         expenses         and       I    wrote them down.                    And some

24         of   them     were         not originally on                     the return.

25                     Q.         Okay.           So    how       was he       able to
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 12 of 30
                                                                                    12


 1         provide       you    these          expenses from earlier

 2         years       when,    in    fact,          they hadn't       been

 3         provided          when    the       returns were filed?              Did

 4         you    find       that    to       be    out of    the    ordinary?

 5                      A.      Yes.

 6                      Q.      And       how so?

 7                      A.      Because if             he    would have put

 8         them    on    there       originally,             he wouldn't       have

 9         had    to    amend       the tax          returns.

10                      Q.      Did       he tell you          at    that time

11         that    he    met    with          you    to prepare the

12         amended       returns          that he had          tax liens

13         already       filed       against him?

14                      A.      No.

15                      Q.      At    any point during your

16         relationship             with him,          did he       explain to

17         you    his    long       history with the IRS of                   not

18         paying       and    the    tax liens?

19                      A.      No.

20                      Q.      So    when you sat             down with him

21         and    went       over    the       amended returns,          what

22         did    you    explain          to him?

23                      A.      I    explained that what he

24         originally          came       up with and          what I    came up

25         with,       there    was       a    big difference between
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 13 of 30
                                                                                   13


 1         the    tax    returns.

 2                      Q.         So    were the amended returns

 3         filed       with    the       IRS?

 4                      A.         They       had    to be    mailed in,     yes.

 5                      Q.         And       those were mailed in           and

 6         he    signed       those?

 7                      A.         He    signed them and            he mailed

 8         them.

 9                      Q.         And       what did the amended --

10         the    amended          returns,          did they increase or

11         decrease          his    tax liability?

12                      A.         All       of them decreased his           tax

13         liability.

14                      Q.         For       that whole time frame of

15         2002    to    2009?

16                      A.         Yes.

17                      Q.         Other          than the list of

18         expenses          that       he    gave you,       was   he able --

19         did    he    provide          you with any          back-up

20         documentation?

21                      A.         No.

22                      Q.         What       did    you understand any of

23         Nicole       Burdett's             role to    be    with the firm?

24         What    did       she    do       for the firm?

25                      A.         When       I    first met her      I   didn't
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 14 of 30
                                                                                 14


 1         know.        I    thought          she    was just a    lawyer.

 2                      Q.         And    overtime what did you             come

 3         to    understand             about her role?

 4                      A.         I    found that she was          the one

 5         who    created          all    the financial reports

 6         through          QuickBooks.              And more or    less did

 7         everything            in     the    office,    like

 8         administrative                work.

 9                      Q.         You    told us that when you

10         prepared          those       amended       returns,    that it

11         was    out       of   the     ordinary,       but you    did it

12         anyway?

13                      A.         Yes.

14                      Q.         And    why?

15                      A.         I    can't       give you a    good answer

16         on    that       one.

17                      Q.         As    we    sit here today,       do    you

18         believe          that       those expenses that you put

19         on    those       returns,          that all of       them were

20         legitimate            expenses?

21                      A.         Today,       no.

22                      Q.         So    you know that you          falsified

23         the    amended          returns?

24                      A.         Yes.

25                      Q.         But    you did that based          on
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 15 of 30
                                                                              15


 1         whose    instructions?

 2                      A.      Jason's          instructions with the

 3         papers       that    he    gave me.

 4                      Q.      Did    Jason make it         clear to you

 5         that    he    wanted       you to       reduce his   tax

 6         liability?

 7                      A.      Yes.

 8                      Q.      So    after the amended returns

 9         were    filed,       did    you continue preparing his

10         returns?

11                      A.      I    started       preparing his

12         returns       annually          then,    yes.

13                      Q.      With       the    year 2010?

14                      A.      Starting          in 2010.

15                      Q.      And    then you prepared them for

16         every    year       thereafter through 2017?

17                      A.      Yes.

18                      Q.      So    tell us       how that would

19         work.        You    said    that Nicole Burdett

20         performed          some    of    the administrative

21         functions          for    the    firm.     Is   that fair and

22         accurate?

23                      A.      Yes.        She would bring me

24         QuickBooks          reports.

25                      Q.      She    would bring them to            you
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 16 of 30
                                                                              16


 1         where?

 2                    A.         At    my    office at      home.

 3                    Q.         In    Bridge City?

 4                    A.         Yes.

 5                    Q.         What       else would she bring you

 6         besides       the     QuickBooks?          Anything else?

 7                    A.         Just       the   QuickBooks.

 8                    Q.         Did    the QuickBooks consist of

 9         a   profit      and    loss statement?

10                    A.         Yes.

11                    Q.         Did    she bring you that as

12         well?

13                    A.         Yes.

14                    Q.         Did    you also prepare the 1099

15         forms    for     the       firm?

16                    A.         She    would send that to           me

17         through       the     computer and I            would prepare

18         them,    yes.

19                    Q.         And    explain to         the   grand jury,

20         what's     the      1099     forms?

21                    A.         The    1099      is income that's

22         other    than       the     W-2.       When a    person works

23         and    they     don't       take out taxes they get a

24         1099    for     that       and    they have to        pay their

25         own    taxes.
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                                                                                      17


 1                      Q.         Okay.           Let   me    show you what

 2         I've    marked          as    Grand Jury            Exhibit Number

 3         2,    and    I'll       ask       that it be         attached   to

 4         your    transcript.

 5                                 Are       you familiar with this

 6         particular             document?

 7                      A.         Yes.

 8                      Q.         Can       you tell us         what it   is?

 9                      A.         It's       a    profit and loss

10         statement          for       2013 for         Jason Rogers

11         Williams.

12                      Q.         Now,       what should this profit

13         and    loss       statement represent if                  it

14         pertains          to    the       law firm?

15                      A.         It    represents the income that

16         the    law    firm       made and the               expenses that

17         they    incurred             to    reach a         bottom line as      to

18         what    the       income          is.

19                      Q.         And       when Nicole Burdett

20         provided          you    with this form,               what did      she

21         tell    you       to    do    with it?

22                      A.         To    prepare the taxes from it.

23                      Q.         Based          on   the information in

24         this    form?

25                      A.         Based          on   this information from
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 18 of 30
                                                                                       18


 1         the    form.

 2                      Q.      Now,       in    addition to         business

 3         expenses,          this    form clearly contains items

 4         labeled       as    personal expenses.                   Is that

 5         accurate?

 6                      A.      Yes.

 7                      Q.      And    did you use            some of       the

 8         personal          expenses,          did   you place those on

 9         the    Schedule       C    on    Jason Williams'            1040 tax

10         returns?

11                      A.      Yes.

12                      Q.      And    why did you            do    that?

13                      A.      Because they were trying to

14         reach    a    certain       amount at            the bottom line.

15                      Q.      And    what do you            mean by       that?

16         Are    you    referring          to    a   certain amount of

17         tax    liability          for    the year?

18                      A.      Right.           What their tax

19         liability          would    be.

20                      Q.      So    did they have a               threshold

21         that    they       wanted       to    get to?       Is    that what

22         you're       saying?

23                      A.      Well,       based      on    the    report,       it

24         showed       much    lower       than I      could go       and    they

25         didn't       want    to    go    that low.
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                                                                                           19


 1                      Q.         So    what were their intentions?

 2                      A.         To    get to             a    point where they

 3         felt    satisfied             that they could feel

 4         comfortable             with       the          bottom line.

 5                      Q.         Okay.              So    you    told us that

 6         Nicole       would          drop off,                Nicole Burdett

 7         would    drop          off    the tax                information,

 8         including             the    QuickBooks and this profit

 9         and    loss       statement.

10                      A.         Right.

11                      Q.         What       would you then do                    with

12         it?

13                      A.         I    would prepare the tax

14         return.           I    would       send her             a   review for

15         them    to    look          at.        And then if              they were

16         fine    with          it,    then she                would give me        the

17         okay    through             Jason to             send it        off

18         electronically.

19                      Q.         What       would she tell you?

20         Would    you          prepare          a    draft of the              return

21         and    then       call       her       or       how did that go?

22                      A.         I    would send --                  I   would call

23         with    the       draft.

24                      Q.         And       what would you                 tell her?

25                      A.         That       I       had       the draft and this
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                                                                                       20


 1         is    what       the       numbers were and then she

 2         would       get       back          to    me    with Jason.

 3                         Q.         During that conversation would

 4         you       say,       okay,          the tax       liability for 2013

 5         is    X    amount?

 6                         A.         Correct.

 7                         Q.         And       what would she            tell you?

 8         Would       she       say          okay,       file it?

 9                         A.         She       told me she            would have to

10         talk       to    Jason             first.        And    then after she

11         did,       if    they          were satisfied with the

12         numbers          then          I    would file them.

13                         Q.         Were          they satisfied with the

14         numbers?

15                         A.         Not       always.

16                         Q.         And       when they were not always

17         satisfied             what          would happen?

18                         A.         I       would inflate the expenses

19         some       more       by       adding more personal that was

20         on    the       profit             and    loss.

21                         Q.         And       you said that you would

22         inflate          them          some more.              So   the original

23         draft       version,                is    it    fair to say        that that

24         did       contain          some          personal expenses?

25                         A.         Some          personal --         the   original?
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 21 of 30
                                                                                 21


 1                      Q.      Yes,    sir.

 2                      A.      Did    not pertain to          the

 3         original          personal    expenses.        I    would

 4         inflate       them       after if       they weren't       happy

 5         with    the       original    draft.

 6                      Q.      And    did you --       why    did you do

 7         that?

 8                      A.      I    felt like I       became

 9         overwhelmed          with    everything and I             just

10         wanted       to    make    him happy.

11                      Q.      So    when they asked you to                go

12         lower,       you    would    go    lower?

13                      A.      Yes.

14                      Q.      And    the only way to          do    that

15         was    how?        How    would you go       lower?

16                      A.      I    would increase some of             the

17         specific          expenses,       inflate them to          where

18         the    net    income       would go lower.

19                      Q.      Now,    you    said you would

20         increase          them.     Would you       sometimes just

21         make    up    a    number?        For    example,    if    the

22         contract          labor,    and this is       just an

23         example,          let's    say was       150,000,    would you

24         sometimes          just    inflate that to          200,000?

25                      A.      Yes.
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                                                                              22


 1                     Q.       And       certain categories that

 2         we've       seen    like       supplies,      would you   just

 3         increase          those       amounts?

 4                     A.       I    would add some of         the

 5         personal          expenses       on    there from the     credit

 6         card       expenses.           There were some personal

 7         and    I    would    increase that and the

 8         supplies.

 9                     Q.       Did       Nicole Burdett or Jason

10         Williams          ever    tell you       do   not use those

11         personal          expenses       on    my Schedule C?

12                     A.       No.

13                     Q.       Did       that ever happen during

14         the    entirety          of    the relationship?

15                     A.       No.

16                     Q.       In       fact,    when she gave you

17         those       forms,       what did she         tell you to   do

18         with       them?

19                     A.       Just       to    prepare the taxes and

20         then       give    them       the draft and they would

21         review       it    and    let    me    know what they wanted

22         to    do.

23                     Q.       Did       she always say      that she

24         would       have    to    talk to       Jason before it     was

25         finalized?
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                                                                                 23


 1                      A.      Yes.

 2                      Q.      So    based       on this long-term

 3         relationship             that you had          with them,      who

 4         did    you    believe       was calling the shots on

 5         these    tax      returns?

 6                      A.      Jason.

 7                      Q.      You    mean Jason Williams?

 8                      A.      Yes,       ma'am.

 9                      Q.      Now,       for    these particular,            the

10         returns       from       2013    to    2017,      were those

11         electronically             filed?

12                      A.      From       2010?

13                      Q.      From       2010    to   2017.

14                      A.      Yes,       ma'am.

15                      Q.      And    particularly the               counts in

16         the    indictment          were 2013         to    2017.     Those

17         were    electronically filed,                     all    of those?

18                      A.      Yes.

19                      Q.      Okay.        Did    you get

20         authorization             from Jason Williams before

21         you    filed      those     returns?

22                      A.      I    sent it       over to         Nicole to

23         do,    yes.

24                      Q.      Did    he ever call and               complain

25         and    say    I   didn't        want to      file that one,
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 24 of 30
                                                                                            24


 1         take    it    back          or       anything to            that effect?

 2                      A.         No.

 3                      Q.         How          would you         and Nicole

 4         communicate?                    Was       it   in-person or on             the

 5         phone?

 6                      A.         Mostly on               the    phone.

 7                      Q.         How          much did you charge Jason

 8         Williams          to    prepare these tax returns?

 9                      A.         In       the beginning it               was    only

10         $200.        And       by       the       time I      finished,       it

11         maybe    went          up       to    500.

12                      Q.         So       is       it   fair to say       that you

13         didn't       make       a       good deal of            money off of

14         preparing          these             returns?

15                      A.         No.

16                      Q.         And          we're      going to       get more

17         into    this       at       a    later time,            but    just

18         briefly       for       the          grand jury's

19         understanding,                   did you          also prepare Nicole

20         Burdett's          personal tax                   returns?

21                      A.         Yes,          I    did.

22                      Q.         And          did you do         a    similar thing

23         with    her       tax       returns where she                  would

24         provide       you,          excuse me,             with a      profit and

25         loss    for       herself             containing personal and
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 25 of 30
                                                                               25


 1         business          expenses?

 2                      A.        Yes.

 3                      Q.        And       did you,    in   fact,   falsify

 4         those    returns            as    well?

 5                      A.        Yes.

 6                      Q.        What       about an      attorney,    are

 7         you    familiar         with an         individual named

 8         Bobby    Hjortsberg?

 9                      A.        Yes.

10                      Q.        And       who is   he?

11                      A.        He's       an   attorney that works in

12         the    firm.

13                      Q.        Did       you also prepare some of

14         his    tax    returns?

15                      A.        Yes.

16                      Q.        And       how did you      meet Mr.

17         Hjortsberg?

18                      A.        Through Nicole.

19                      Q.        And       did he   come to    your office

20         to    meet    with      you?

21                      A.        Yes.

22                      Q.        And       what did he      ask you    to do?

23                      A.        To    inflate the returns.

24                      Q.        And       what would he      bring with

25         him    when       he   would       meet with you?
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 26 of 30
                                                                                  26


 1                      A.      He    would bring me          his list of

 2         expenses.

 3                      Q.      And    you would prepare a                draft

 4         of    the    return?

 5                      A.      Yes.

 6                      Q.      And    did you ever have any                back

 7         and    forth       with    Bobby Hjortsberg?

 8                      A.      Yes.        In-person.

 9                      Q.      And    what would he          tell you?

10                      A.      He    would want to try             and reach

11         a    certain       number,       also.

12                      Q.      Would       he    also ask you to          go

13         lower?

14                      A.      Uh-huh (affirmative response).

15                      Q.      And    how --       did you       do that?

16                      A.      Yes.

17                      Q.      And    how were you able to                do

18         that?

19                      A.      I    was    --    I'm    sorry.     I    didn't

20         hear    the       question.

21                      Q.      How    were you able to             go    lower

22         to    reduce       the    tax    liability?

23                      A.      Inflate the expenses.

24                      Q.      What       happened in 2017 for             tax

25         year    20    --    well,       in    2018,    did they
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 27 of 30
                                                                                 27


 1         continue          using       you to    prepare their

 2         returns?

 3                      A.         No.

 4                      Q.         So    what happened?           Were you

 5         let    go    or    --

 6                      A.         They       just told me       they were

 7         going       to    go    to    someone    else and I       was    very

 8         relieved          about       that.

 9                      Q.         Did    they tell you why they

10         were      going        to    someone else?

11                      A.         They       insinuated that they won

12         a   big     law    case       and they just wanted          to go

13         somewhere          else       at    the advice of       their

14         financial          advisor.

15                      Q.         And    you said when they told

16         you    they       were       going to    someone else,          how

17         did    you       feel?

18                      A.         Very       relieved.

19                      Q.         Why?

20                      A.         Because I       was    getting to       the

21         point       where       I    didn't    want to do       their tax

22         returns          anymore.

23                      Q.         And    why didn't       you    want to do

24         them?

25                      A.         Because of       the pressure they
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 28 of 30
                                                                                     28


 1         were    putting             on       me to    reduce everything.

 2                      Q.            So    you knew that you             were

 3         doing       things          that were not legally

 4         correct?

 5                      A.            Yes.

 6                      Q.            But       you continued doing it up

 7         until       the       point          where they said they were

 8         going       to    someone             else?

 9                      A.            Yes.

10                      Q.            Now,       sir,    are    you aware of the

11         fact    that          in    addition to             this

12         investigation,                   that the IRS          has a    separate

13         investigation                   on    you    concerning your

14         failure          to    report          all of       your income on

15         your    tax       returns?

16                      A.            Yes.

17                      Q.            And       is it    your understanding

18         that    that          investigation and                those charges

19         will    be       dealt          with at       a   separate time?

20                      A.            Yes.

21                      Q.            So    you told us          that you    met

22         Jason       Williams             and Nicole Burdett in                2010.

23         And    is    it       fair       to    say that you        continued

24         having       communications and                      preparing the

25         returns          through             2017?
     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 29 of 30
                                                                              29


 1                      A.         Yes.

 2                      Q.         At    any point did either Jason

 3         Williams          or    Nicole Burdett pick up               the

 4         phone      or     come       see    you or   say,    look,    we

 5         want    to      be     conservative?           Remove all of

 6         these      personal           expenses.        I'm   just going

 7         to   pay     what       I    owe?

 8                      A.         Never.

 9                 MS.       UEBINGER:           Do   y'all have any

10         questions            for     Mr.    Timothy?

11                 GRAND          JURORS:        (No response).

12                 MS.       UEBINGER:           Thank you,      sir.

13                           David,       anything else?

14                 MR.       AYO:        No.

15                 MS.       UEBINGER:           Thank you,      sir.

16         You're       excused.

17         (Whereupon,             the    witness was       excused and

18         left    the       grand       jury room at       2:51   p.m.)

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     Case 2:20-cr-00055-MLCF-KWR Document 97-4 Filed 11/30/20 Page 30 of 30
                                                                              30


 1                                CERTIFICATE

 2

 3         I   do   hereby      certify that the foregoing is

 4         a   true      and   accurate transcript,         to   the

 5         best     of    my   skill   and   ability,    from my

 6         stenographic           notes of    this proceeding.

 7

 8         June     26,    2020

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12         DAWN D. TUPPER, CCR, RPR
           Certified Court Reporter (#94015)
13         Registered Professional Reporter

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